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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al., 1                     Case No. 14-10979 (CSS)
                                                            (Jointly Administered
         Debtors.
                                                            Emergency Hearing Requested

                                                            Re: D.I. 1682, 1782, 1791, 1796, 1804



        NOTICE OF FILING EMERGENCY MOTION OF CERTAIN ASBESTOS
    CLAIMANTS TO CONTINUE SEPTEMBER 16, 2014 HEARING WITH RESPECT TO
       THE IMPOSITION OF A CLAIMS BAR DATE AFFECTING PRESENT AND
              FUTURE ASBESTOS PERSONAL INJURY CLAIMANTS

                  PLEASE TAKE NOTICE that on September 15, 2014, the PI Law Firms filed the

Emergency Motion of Certain Asbestos Claimants to Continue September 16, 2014 Hearing

with Respect to the Imposition of a Claims Bar Date Affecting Present and Future Asbestos

Personal Injury Claimants (the “Motion to Continue”) in the above-captioned matter.

                  PLEASE TAKE FURTHER NOTICE that the Motion to Continue requested that

Court shorten the notice and objection periods with respect to the Motion to Continue and

schedule a hearing on the Motion to Continue, if necessary, at the Court’s earliest convenience..




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  The last four digits of Energy Future Holdings Corp.’s taxpayer identification number are 8810. The location of
the debtors’ service address is 1601 Bryan Street, Dallas, TX 75201. Due to the large number of debtors in these
Chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.




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Dated: Wilmington, Delaware
       September 15, 2014
                                     Respectfully submitted,

                                     MONTGOMERY McCRACKEN WALKER &
                                     RHOADS, LLP

                                      /s/ Natalie D. Ramsey
                                     Natalie D. Ramsey, Esquire (DE Bar No. 5378)
                                     Davis Lee Wright, Esquire (DE Bar No. 4324)
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                                     Simmons Hanley Conroy; Paul Reich & Meyers,
                                     P.C.; Kazan, McClain, Satterley & Greenwood, a
                                     Professional Law Corporation, and Early,
                                     Lucarelli, Sweeney & Meisenkothen




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